                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 IN RE: DOMESTIC DRYWALL                             MDL No. 2437
 ANTITRUST LITIGATION
                                                     13-MD-2437
 THIS DOCUMENT RELATES TO:
 All Actions



                        MEMORANDUM AND ORDER RE DISPUTE
                         OVER ATTORNEY/CLIENT PRIVILEGE

Baylson, J.                                                                          June 17, 2015

       After plaintiffs filed a motion to compel production of documents as to which defendant

Certainteed had claimed a privilege (ECF 213, 228), and defendant responded (ECF 221), the

Court held extensive argument on June 16, 2015.

       To summarize, the dispute centers on two internal Certainteed documents dated

September 28, 2011 and November 11, 2011, both of which concern Certainteed pricing

practices. A Certainteed in-house lawyer was involved in the preparation of these documents.

       Certainteed produced some documents related to these two principal documents, but

other documents, which may be related, were identified as privileged on the Certainteed

privilege log and have not been produced.

       This dispute came to a head when a Certainteed expert witness relied on the two

documents as part of his opinion in this case.

       At the hearing, the Court reviewed Federal Rule of Evidence 502, and also the general

principle of fair discovery in an antitrust case alleging a price-fixing conspiracy, that if a party

produces a “conclusory” document stating a firm’s practice or policy, underlying documents

prepared in the defendant’s organization on the same topic should also be produced.
         After considerable discussion, the Court determined that a formal ruling on the motion

would be delayed pending further exchanges of information between counsel and possibly

involving submission of certain documents on Certainteed’s privilege log to the Court for in

camera review. It is therefore ORDERED as follows:

         1.       By July 8, 2015, plaintiffs will designate to Certainteed counsel those entries on

the Certainteed privilege log dated between September 20 and November 11, 2011, that plaintiffs

believe may relate to this issue.

         2.       By July 31, 2015, in response to each of plaintiffs’ designations, defendant will

either (a) produce the document in full, without otherwise waiving the attorney/client privilege,

or (b) produce certain parts of the document that do not contain privileged communications but

continue the designation of other parts of the document as privileged and increase the description

of the document on the privilege log, or (c) withhold the entire document as privileged and

increase the description of the document on the privilege log.

         3.       As to those documents or parts thereof designated by plaintiffs which Certainteed

continues to maintain as privileged, the non-produced parts shall be submitted to the Court for in

camera review by August 5, 2015.



                                                                  BY THE COURT:

                                                                  /s/ Michael M. Baylson
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                                                                  MICHAEL M. BAYLSON, U.S.D.J.


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